              Case 2:11-cr-00048-JCM-CWH                           Document 357               Filed 12/16/14                 Page 1 of 2
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                            District
                                                      __________     of Nevada
                                                                 District of __________

                    United States of America
                               v.                                          )
                      RUBEN AGUILAR (8)                                    )
                                                                           )    Case No: 2:11-CR-0048-JCM-CWH
                         aka Payaso
                                                                           )    USM No: 45719-048
Date of Original Judgment:                            04/16/2012           )
Date of Previous Amended Judgment:                                         )    TERRENCE JACKSON
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   ’ the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ’ DENIED. ’       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   108                     months is reduced to 87 months                            .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          04/16/2012              shall remain in effect.
IT IS SO ORDERED.
                    December 16, 2014
Order Date:
                                                                                                         Judge’s signature


Effective Date:                                                                        James C. Mahan, U.S. District Judge
                     (if different from order date)                                                    Printed name and title
              Case 2:11-cr-00048-JCM-CWH                            Document 357               Filed 12/16/14           Page 2 of 2
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                      This page contains information that should not be filed in court unless under seal.
                                                (Not for Public Disclosure)


                                            RUBEN AGUILAR (8)
DEFENDANT:                                     aka Payaso
CASE NUMBER: 2:11-CR-0048-JCM-CWH
DISTRICT:          District of Nevada


I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Total Offense Level: 29                Amended Total Offense Level: 27
Criminal History Category:    III               Criminal History Category:   III
Previous Guideline Range:     108 to 135 months Amended Guideline Range:     87                                                   to 108        months

II. SENTENCE RELATIVE TO THE AMENDED GUIDELINE RANGE
  ✔
  ’ The reduced sentence is within the amended guideline range.
  ’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
    time of sentencing as a result of a substantial assistance departure or Rule 35 reduction, and the reduced sentence
    is comparably less than the amended guideline range.
  ’ The reduced sentence is above the amended guideline range.

III. ADDITIONAL COMMENTS




         Print                       Save As...                  Add Attachment                                                          Reset
